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                           UNITED STATES DISTRICT COURT

                               DISTRICT OF OREGON

                                PORTLAND DIVISION

A.M., an individual,
                                             Case No. 3:21-cv-01674-MO
              Plaintiff,
                                             THIRD NOTICE OF SUPPLEMENTAL
vs.                                          AUTHORITY

OMEGLE.COM LLC,

              Defendant.




                                                                         Snell & Wilmer
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         Defendant Omegle.com LLC respectfully submits as a supplemental authority the

opinion issued on January 10, 2023 in Bride v. Snap Inc., No. 2:21-cv-06680-FWS-MRW, 2023

U.S. Dist. LEXIS 5481 (C.D. Cal. Jan. 10, 2023). That opinion is attached as Appendix A.

         Omegle submits Appendix A in further support of its pending Motion to Dismiss

Plaintiff’s Second Amended Complaint (ECF No. 49), specifically regarding the issue of whether

Section 230 of the Communications Decency Act bars plaintiff’s negligence claim (the Sixth

Claim for Relief).


Dated this 24th day of January, 2023.           SNELL & WILMER L.L.P.


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     Neutral
As of: January 19, 2023 6:56 PM Z


                                                  Bride v. Snap Inc.
                               United States District Court for the Central District of California
                                    January 10, 2023, Decided; January 10, 2023, Filed
                                                  2:21-cv-06680-FWS-MRW

Reporter
2023 U.S. Dist. LEXIS 5481 *
                                                                 Tyler Clementi Foundation's ("Plaintiffs") First Amended
Kristin Bride, et al. v. Snap Inc., et al.
                                                                 Complaint ("FAC"). (Dkts. 118, 127.) The matter is fully
Prior History: Bride v. Snap Inc., 2021 U.S. Dist. LEXIS         briefed.2 (Dkts. 135, 138-39.) Based on the state of the
149150, 2021 WL 3493662 (N.D. Cal., Aug. 9, 2021)                record, as applied to the applicable law, the court
                                                                 GRANTS the Motion and DISMISSES WITH
                                                                 PREJUDICE the FAC.
Core Terms
users, anonymous, immunity, Plaintiffs', publisher,
                                                                 I. Relevant Background
allegations, messages, provider, third party, third-party,
posts, motion to dismiss, interactive, internet, computer        The FAC alleges3 that Yolo and LightSpace designed,
service, cause of action, harassing, misrepresentation,          developed, and operate the YOLO and LMK
futile, information provided, false advertising, failure to      applications, respectively, which have "Teen" content
warn, platforms, altering, features, prong                       ratings on the Google Play store, and permit teenaged
                                                                 and minor users to share anonymous messages. (Dkt.
Counsel: [*1] Attorneys for Plaintiffs: Not Present.
                                                                 113 ¶¶ 60, 74-76.) LMK is an "anonymous Question and
Attorneys for Defendants: Not Present.                           Answer and polling app" that allows its users to "create
                                                                 and customize[] [*2] stickers and backgrounds while
Judges: HONORABLE FRED W. SLAUGHTER,                             sharing polls with their friends on Snapchat." (Id. ¶¶ 28,
UNITED STATES DISTRICT JUDGE.                                    73.) Similarly, YOLO "is an app designed to allow its
                                                                 users to send messages to each other anonymously"
Opinion by: FRED W. SLAUGHTER                                    who can "chat, exchange questions and answers, and
                                                                 send polling requests to one another on a completely
Opinion                                                          anonymous basis." (Id. ¶ 26.) Senders of messages on
                                                                 YOLO and LMK remain anonymous. (Id. ¶¶ 3, 56, 73.)
                                                                 Plaintiffs allege studies show the "depersonalized"
                                                                 context of anonymous apps increases the risk of
CIVIL MINUTES — GENERAL                                          "aberrant" behavior like bullying and harassment. (Id. ¶¶


                                                                 2 The   court, in its discretion, GRANTS Plaintiffs' Motion to
PROCEEDINGS: ORDER GRANTING DEFENDANTS'
JOINT MOTION TO DISMISS [118][127]                               Exceed the Page Limit in Opposition to Defendant's Motion to
                                                                 Dismiss by five (5) pages. (Dkt. 137.) While Yolo opposes,
Before the court are Defendants Yolo Technologies, Inc.          (Dkt. 140), the court finds any resulting prejudice minimal and
("Yolo")     and    LightSpace    Inc.'s   ("LightSpace")        that it is in the interest of judicial economy to permit the brief
(collectively, "Defendants") Motions to Dismiss Plaintiffs       as filed. Future requests of this nature must be set for hearing
                                                                 in advance of the motion to which they relate.
the Estate of Carson Bride by and through his appointed
administrator, Kristin Bride, A.C., A.O., A.K.,1 and the         3 For the purposes of the Motions to Dismiss, the court accepts
                                                                 all allegations of material fact as true and construes the
                                                                 pleadings in the light most favorable to Plaintiffs. Manzarek v.
1 A.C., A.O., and A.K., are represented by and through their     St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir.
legal guardians, Jane Does 2, 3, and 1, respectively.            2008).

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35-37.)                                                        Plaintiff filed the First Amended Complaint on June 27,
                                                               2022. (Dkt. 113.) After several more stipulations to
Plaintiffs allege they received harassing messages in          extend the deadlines in this case, (Dkts. 112, 116, 121,
response to their benign posts on Defendants'                  123), the court entered an order on September 29,
applications and did not receive comparable messages           2022, granting Defendants' motion to stay discovery
on other platforms in which user identities were               pending resolution of potentially dispositive motions to
revealed. (Id. ¶¶ 97-99, 102-104.) Plaintiffs allege that      dismiss, (Dkt. 126). LightSpace initially moved to
YOLO had pop-up notifications that stated individuals'         dismiss the FAC on August 18, 2022, (Dkt. 118), and
identities would be revealed if they harassed other users      Yolo similarly moved on October 6, 2022, (Dkt. 127).
and LightSpace similarly stated it would take reports of       The court heard oral argument on these matters on
bullying it received seriously and potentially send those      January 5, 2023. (Dkt. 141.)
reports to law enforcement. (Id. ¶¶ 65, 71, 81, 105-118.)
Plaintiffs reference several specific explicit messages
they received on these platforms [*3] and also aver            II. Legal Standard
more generally that they received harassing messages
on both applications. (Id. ¶¶ 90-103, 128-131, 136-140,        A. Motion [*5] to Dismiss Pursuant to Rule 12(b)(6)
145-147.) Plaintiffs allege that YOLO in particular did
not respond to reports of harassment and that a                Rule 12(b)(6) permits a defendant to move to dismiss a
decedent of one of the Plaintiffs unsuccessfully               complaint for "failure to state a claim upon which relief
attempted to search online for ways to "reveal" the            can be granted." Fed. R. Civ. P. 12(b)(6). "[C]ourts must
identities of individuals who had previously sent him          consider the complaint in its entirety, as well as other
harassing messages on YOLO the night before his                sources courts ordinarily examine when ruling on Rule
death. (See id. ¶¶ 71, 94.)                                    12(b)(6) motions to dismiss, in particular, documents
                                                               incorporated into the complaint by reference, and
In this lawsuit, Plaintiffs bring state law causes of action   matters of which a court may take judicial notice."
against Defendants for: (1) strict product liability based     Tellabs, Inc. v. Makor Issues & Rts., Ltd., 551 U.S. 308,
on a design defect; (2) strict product liability based on a    322, 127 S. Ct. 2499, 168 L. Ed. 2d 179 (2007). To
failure to warn; (3) negligence; (4) fraudulent                withstand a motion to dismiss brought under Rule
misrepresentation; (5) negligent misrepresentation; (6)        12(b)(6), a complaint must allege "enough facts to state
unjust enrichment; (7) violation of the Oregon Unlawful        a claim to relief that is plausible on its face." Bell Atl.
Trade Practices Act; (7) violation of the New York             Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955,
General Business Law § 349; (8) violation of the New           167 L. Ed. 2d 929 (2007). While "a complaint attacked
York General Business Law § 350; (9) violation of the          by a Rule 12(b)(6) motion to dismiss does not need
Colorado Consumer Protection Act; (10) violation of the        detailed factual allegations," a plaintiff must provide
Pennsylvania Unfair Trade Practices Law; (11) violation        "more than labels and conclusions" and "a formulaic
of the Minnesota False Statement in Advertising Act;           recitation of the elements of a cause of action" such that
and (12) violation of California Business and                  the factual allegations "raise a right to relief above the
Professions Code §§ 17200 & 17500. (See id. ¶¶ 20-30,          speculative level." Id. at 555 (citations and internal
178-322.) Plaintiffs seek to bring a class action. (See id.    quotation marks omitted); see also Ashcroft v. Iqbal, 556
¶¶ 159-177.)                                                   U.S. 662, 679, 129 S. Ct. 1937, 173 L. Ed. 2d 868
                                                               (2009) (reiterating that "recitals of the elements of a
Plaintiffs initially filed the Complaint [*4] in this action
                                                               cause of action, supported by mere conclusory
on May 10, 2021, against Defendants and former
                                                               statements, do not suffice"). "A Rule 12(b)(6) dismissal
Defendant Snap, Inc., in the Northern District of
                                                               'can be based on the lack of a cognizable legal theory or
California. (Dkt. 1.) The case was transferred to the
                                                               the absence of sufficient facts alleged under a
Central District of California on August 18, 2021. (Dkts.
                                                               cognizable legal theory.'" [*6] Godecke v. Kinetic
49-50, 53.) The three Defendants initially filed Motions
                                                               Concepts, Inc., 937 F.3d 1201, 1208 (9th Cir. 2019)
to Dismiss and Stay Discovery in September 2021, (see
                                                               (quoting Balistreri v. Pacifica Police Dep't, 901 F.2d 696,
Dkts. 71-77, 79); after numerous stipulations to extend
                                                               699 (9th Cir. 1990)).
the hearing on those motions pending settlement
discussions, (see Dkts. 82, 86, 88, 90, 94, 96, 98, 102,
                                                               "Establishing the plausibility of a complaint's allegations
105), the parties stipulated to Snap, Inc.'s dismissal with
                                                               is a two-step process that is 'context-specific' and
prejudice from this action on June 17, 2022, (Dkt. 111).
                                                               'requires the reviewing court to draw on its judicial

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experience and common sense.'" Eclectic Props. E.,                  true allegations that are merely conclusory,
LLC v. Marcus & Millichap Co., 751 F.3d 990, 995-96                 unwarranted deductions of fact, or unreasonable
(9th Cir. 2014) (quoting Iqbal, 556 U.S. at 679). "First, to        inferences. See Clegg v. Cult Awareness Network,
be entitled to the presumption of truth, allegations in a           18 F.3d 752, 754-55 (9th Cir. 1994).
complaint . . . must contain sufficient allegations of          266 F.3d 979, 988 (9th Cir. 2001).
underlying facts to give fair notice and to enable the
opposing party to defend itself effectively." Id. at 996
(quoting Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir.           III. Discussion
2011)). "Second, the factual allegations that are taken
as true must plausibly suggest an entitlement to relief,        A. Section 230 of the Communications Decency Act
such that it is not unfair to require the opposing party to
be subjected to the expense of discovery and continued          Defendants first argue that they are immune from suit
litigation." Id. (quoting Starr, 652 F.3d at 1216); see also    under Section 230 of the Communications Decency Act
Iqbal, 556 U.S. at 681.                                         of 1996 ("CDA"), 47 U.S.C. § 230. Section 230 of the
                                                                CDA "protects certain internet-based actors from certain
Plausibility "is not akin to a 'probability requirement,' but   kinds of lawsuits." Barnes v. Yahoo!, Inc., 570 F.3d
it asks for more than a sheer possibility that a defendant      1096, 1099 (9th Cir. 2009). The statute provides, in
has acted unlawfully." Iqbal, 556 U.S. at 678 (quoting          relevant part, that "[n]o provider or user of an interactive
Twombly, 550 U.S. 544, 556, 127 S. Ct. 1955, 167 L.             computer [*8] service shall be treated as the publisher
Ed. 2d 929 (2007)). On one hand, "[g]enerally, when a           or speaker of any information provided by another
plaintiff alleges facts consistent with both the plaintiff's    information content provider." 47 U.S.C. § 230(c)(1).
and the defendant's explanation, and both explanations          Additionally, it states that "[n]o cause of action may be
are plausible, the plaintiff survives a motion to dismiss       brought and no liability may be imposed under any State
under Rule 12(b)(6)." In re Dynamic Random Access               or local law that is inconsistent with this section." Id. §
Memory (DRAM) Indirect Purchaser Antitrust Litig., 28           230(e)(3). "The majority of federal circuits have
F.4th 42, 47 (9th Cir. 2022) (citing Starr, 652 F.3d at         interpreted the CDA to establish broad federal immunity
1216). But, on the other, "'[w]here a complaint pleads          to any cause of action that would make service
facts that are merely consistent with a defendant's [*7]        providers liable for information originating with a third-
liability, it stops short of the line between possibility and   party user of the service." Perfect 10, Inc. v. CCBill LLC,
plausibility of entitlement to relief.'" Eclectic Props. E.,    488 F.3d 1102, 1118 (9th Cir. 2007) (citations and
LLC, 751 F.3d at 996 (quoting Iqbal, 556 at U.S. 678).          internal quotation marks omitted).
Ultimately, a claim is facially plausible where "the
plaintiff pleads factual content that allows the court to       CDA immunity under Section 230(c)(1) "applies only if
draw the reasonable inference that the defendant is             the interactive computer service provider is not also an
liable for the misconduct alleged." See Iqbal, 556 U.S. at      'information content provider,' which is defined as
678 (citing Twombly, 550 at 556); accord Wilson v.              someone who is 'responsible, in whole or in part, for the
Hewlett-Packard Co., 668 F.3d 1136, 1140 (9th Cir.              creation or development of' the offending content." Fair
2012).                                                          Hous. Council of San Fernando Valley v.
                                                                Roommates.Com, LLC, 521 F.3d 1157, 1162 (9th Cir.
In Sprewell v. Golden State Warriors, the Ninth Circuit         2008) (en banc) (quoting 47 U.S.C. § 230(f)(3)). The
described legal standards for motions to dismiss made           "prototypical service qualifying for [CDA] immunity is an
pursuant to Rule 12(b)(6):                                      online messaging board (or bulletin board) on which
                                                                Internet subscribers post comments and respond to
    Review is limited to the contents of the complaint.         comments posted by others." Kimzey v. Yelp! Inc., 836
    See Enesco Corp. v. Price/Costco, Inc., 146 F.3d            F.3d 1263, 1266 (9th Cir. 2016) (quoting FTC v.
    1083, 1085 (9th Cir. 1998). All allegations of              Accusearch Inc., 570 F.3d 1187, 1195 (10th Cir. 2009)).
    material fact are taken as true and construed in the
    light most favorable to the nonmoving party. See id.        Under the Ninth Circuit's three-prong test, "[i]mmunity
    The court need not, however, accept as true                 from liability exists for '(1) a provider or user of an
    allegations that contradict matters properly subject        interactive computer service [*9] (2) whom a plaintiff
    to judicial notice or by exhibit. See Mullis v. United      seeks to treat, under a state law cause of action, as a
    States Bankr. Ct., 828 F.2d 1385, 1388 (9th                 publisher or speaker (3) of information provided by
    Cir.1987). Nor is the court required to accept as           another information content provider.'" Dyroff v. Ultimate

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Software Grp., Inc., 934 F.3d 1093, 1097 (9th Cir. 2019)         Ultimately, although Plaintiffs frame user anonymity as a
(quoting Barnes, 570 F.3d at 1100-01). "When a plaintiff         defective design feature of Defendants' applications,
cannot allege enough facts to overcome Section 230               Plaintiffs fundamentally seek to hold Defendants liable
immunity, a plaintiff's claims should be dismissed." Id.         based on content published by anonymous third parties
(citation omitted).                                              on their applications. Accordingly, the court finds
                                                                 Plaintiff's theories of liability treat Defendants as a
In considering the first prong of the Barnes test, courts        "publisher" within the meaning of Section 230. See
"interpret the term 'interactive computer service'               Dyroff, 934 F.3d at 1098 (acknowledging defendant
expansively." Id. (citation omitted). Here, Plaintiffs do        implemented "features and functions" to "analyze" and
not meaningfully challenge Defendants' status as                 "recommend" user grounds but holding plaintiffs "cannot
providers of "interactive computer service[s]" within the        plead around Section 230 immunity by framing these
meaning of Section 230. (See Dkt. 135 at 5-30.) Under            website features as content" because plaintiffs' claims
the statute, "[t]he term 'interactive computer service'          sought to treat defendant as a "publisher" of third-party
means any information service, system, or access                 information); id. at 1095 (noting that "[s]ome of
software provider that provides or enables computer              [defendant's] [web]site's functions, including user
access by multiple users to a computer server, including         anonymity and grouping, facilitated illegal drug sales");
specifically a service or system that provides access to         Kimzey, 836 F.3d 1266 (holding district court properly
the Internet and such systems operated or services               dismissed complaint that sought to "circumvent the
offered by libraries or educational institutions." 47            CDA's protections" by "plead[ing] around the CDA to
U.S.C. § 230(f)(2). Courts have noted providers of               advance the same basic argument that the statute
interactive computer services include entities that              plainly bars: that [defendant] published user-generated
create, own, and operate applications that enable users          speech that was harmful to [plaintiff]") (citation omitted);
to share messages over its internet-based servers, like          Gonzalez v. Google LLC, 2 F.4th 871, 891 (9th Cir.
Defendants. [*10] See, e.g., Lemmon v. Snap, Inc., 995           2021), cert. granted [*12] , 143 S. Ct. 80, 214 L. Ed. 2d
F.3d 1085, 1091 (9th Cir. 2021) (holding creator, owner,         12 (2022) ("This element is satisfied when 'the duty that
and operator of application that "permits its users to           the plaintiff alleges the defendant violated derives from
share photos and videos through [its] servers and the            the defendant's status or conduct as a "publisher or
internet" necessarily "enables computer access by                speaker."'") (quoting Barnes, 570 F.3d at 1102); see
multiple users to a computer server," and thus qualifies         also Force v. Facebook, Inc., 934 F.3d 53, 65 (2d Cir.
as a "provider of an interactive computer service")              2019) (noting "[t]he courts' generally broad construction
(citations and internal quotation marks omitted).                of Section 230(c)(1) in favor of immunity has resulted in
Accordingly, the court finds the first prong of the Barnes       a capacious conception of what it means to treat a
test is met.                                                     website operator as the publisher of information
                                                                 provided by a third party") (cleaned up). While Plaintiffs
Under the second prong, "what matters is whether the             urge that preventing users from posting anonymously is
claims 'inherently require[] the court to treat the              unrelated to the content users of Defendants'
defendant as the "publisher or speaker" of content               applications generate, these "decisions about the
provided by another.'" Dyroff, 934 F.3d at 1098                  structure and operation of a website are content-based
(alteration in original) (quoting Barnes, 570 F.3d at            decisions" under Section 230. See Fields v. Twitter, Inc.,
1102). Plaintiffs argue their claims do not treat                217 F. Supp. 3d 1116, 1124 (N.D. Cal. 2016) (noting
Defendants as publishers or speakers because their               courts have held such content-based decisions include
claims allege Defendants' products could be made safer           "the option to anonymize email addresses, [and the]
without altering third-party content and that the designs        acceptance of anonymous payments") (citing Jane Doe
of Defendants' applications encourage the alleged                No. 1 v. Backpage.com, LLC, 817 F.3d 12, 20 (1st Cir.
harmful conduct. (Dkt. 135 at 6-12.) Further, Plaintiffs         2016)); see also Lewis v. Google LLC, 461 F. Supp. 3d
argue the anonymity of Defendants' users "itself creates         938, 954 (N.D. Cal. 2020).
harm that makes any content seem harmful." (Dkt. 135
at 11-12.) Defendants contend that, regardless of how            The court similarly finds that Dyroff is not materially
Plaintiffs' claims are styled, Plaintiffs' legal theories seek   distinguishable on the basis that the users of the
to hold Defendants liable [*11] for publishing the               application at issue in Dryoff remained pseudonymous
content of third parties. (Dkts. 118 at 9-10; 127 at 14-         while posting users of Defendants' applications remain
15.)                                                             anonymous. The Ninth Circuit in Dyroff drew no such
                                                                 distinction. Rather, the Circuit stated that "[t]oday, online

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privacy is a ubiquitous public concern [*13] for both         identifiable [*15] person. Accordingly, the court finds
users and technology companies." 934 F.3d at 1100.            Lemmon is distinguishable, and the second prong of
The Ninth Circuit in Dryoff spoke in terms of                 Section 230 immunity is satisfied.
"anonymity," not pseudonymity. See id. at 1095, 1100.
Even if it had not, the court does not find it plausible to   Under the third prong, "§ 230(c)(1) cuts off liability only
distinguish from Dyroff given the Ninth Circuit ultimately    when a plaintiff's claim faults the defendant for
concluded that the defendant was "entitled to immunity        information provided by third parties" but permits liability
under the plain terms of Section 230 and our case law         against internet companies when "they create or
as a publisher of third-party content" because the            develop their own internet content" or are "responsible
plaintiff could not "and [did] not plead that [the            in part, for the creation or the development of the
defendant] required users to post specific content, made      offending content on the internet." Lemmon, 995 F.3d at
suggestions regarding the content of potential user           1093 (cleaned up). Here, Plaintiffs argue their claims do
posts, or contributed to making unlawful or objectionable     not treat Defendants as publishers of information, but
user posts." Id. at 1099. The court finds this ultimate       rather seek to impose liability on the basis that their
conclusion applies to this case with equal force.             applications could have been designed more safely
                                                              without altering third-party content; namely, by removing
Plaintiffs principally seek to combat the application of      complete anonymity. (Dkt. 135 at 5-10.) Plaintiffs also
Section 230 immunity by bringing this case within the         argue that Defendants contributed to the behavior that
ambit of Lemmon, in which the plaintiffs brought claims       harmed Plaintiffs by designing applications in which
against Snap, Inc., a former Defendant in this case and       posting users remain anonymous, thereby promoting
creator of an application similar to Defendants'. In          bullying on their platforms. (Id. at 10-12.) Defendants
Lemmon, the plaintiffs alleged Snapchat's "Speed              argue that their users, not Defendants, are the persons
Filter," an "interactive system" that "encouraged its         responsible for the creation or development of the
users to pursue certain unknown achievements and              harmful content at issue. (Dkts. 118 at 8-9; 127 at 14.)
rewards" and "worked in tandem to entice young
Snapchat users to drive at speeds exceeding 100 [*14]         The thrust of Plaintiffs' allegations [*16] concern posts
MPH," had nothing to do with "its editing, monitoring, or     by users of Defendants' applications. Accordingly,
removing of the content that its users generate through       Defendants are not "information content provider[s]
Snapchat." 995 F.3d at 1091-92. Finding the case              because [they] did not create or develop information"
presented "a clear example of a claim that simply does        but rather "published information created or developed
not rest on third-party content," id. at 1093, the Ninth      by third parties." Dyroff, 934 F.3d at 1098. Defendants
                                                              did not create or develop the harassing and explicit
Circuit held that "the duty [Snap] allegedly violated
                                                              messages that led to the harm suffered by Plaintiffs; the
'spr[a]ng[] from' its distinct capacity as a product
                                                              sending users did. See id. While Plaintiffs assert their
designer,'" id. at 1092. The Ninth Circuit in Lemmon also
                                                              false advertising claims differ from their other claims in
reasoned that "Snap could have satisfied its 'alleged
                                                              this respect, (see Dkt. 135 at 14-15), those claims are
obligation'—to take reasonable measures to design a
                                                              still predicated on content developed by those third
product more useful than it was foreseeably
                                                              parties. Had those third-party users refrained from
dangerous—without altering the content that Snapchat's
                                                              posting harmful content, Plaintiffs' claims that
users generate." Id. (citing Internet Brands, 824 F.3d at
851).                                                         Defendants falsely advertised and misrepresented their
                                                              applications' safety would not be cognizable.
Though Plaintiffs seek to characterize anonymity as a         Accordingly, the nature of Plaintiffs' legal claim does not
feature or design independent of the content posted on        alter the court's conclusion, whether based on
Defendants' applications, the theories underlying             negligence or false advertising. See Zango, Inc. v.
Plaintiffs' claims essentially reduce to holding              Kaspersky Lab, Inc., 568 F.3d 1169, 1177 (9th Cir.
Defendants liable for publishing content created by third     2009) (noting the Ninth Circuit has held that "CDA § 230
parties that is allegedly harmful because the speakers        provide[s] immunity from state unfair competition and
are anonymous. Imposing such a duty would                     false advertising actions") (citing CCBill, 488 F.3d at
"necessarily require [Defendants] to monitor third-party      1108, 1118-19)).
content," cf. HomeAway.com, Inc. v. City of Santa
                                                              In sum, "[t]he accusation here is fundamentally that
Monica, 918 F.3d 676, 682 (9th Cir. 2019), e.g., in the
                                                              [Defendants] should have monitored and curbed third-
form of requiring Defendants to ensure that each user's
                                                              party content." See [*17] Jackson v. Airbnb, Inc., 2022
post on their applications is traceable to a specifically

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U.S. Dist. LEXIS 202765, 2022 WL 16753197, at *2                hosted the plaintiff's user profile]," and thus reasoned
(C.D. Cal. Nov. 4, 2022) (finding Section 230 immunized         that "[t]he duty to warn allegedly imposed by California
defendant notwithstanding Lemmon where plaintiffs'              law would not require Internet Brands to remove any
claims were "predicated on holding [defendant] liable for       user content or otherwise affect how it publishes or
third party content posted on its platform"); cf. In re         monitors such content." 824 F.3d at 851. The Ninth
Apple Inc. App Store Simulated Casino-Style Games               Circuit continued that the "alleged tort based on a duty
Litig., 2022 U.S. Dist. LEXIS 159613, 2022 WL                   that would require such a self-produced warning falls
4009918, at *4-18 (N.D. Cal. Sept. 2, 2022)                     outside of section 230(c)(1)" because the "plaintiff's
(summarizing historical development of Ninth Circuit            negligent [*19] failure to warn claim [did] not seek to
case law regarding Section 230 and distinguishing               hold Internet Brands liable as the publisher or speaker
between "mere message boards" and "creators of                  of any information provided by another information
content themselves"). Because these claims fall                 content provider." Id. (citation and internal quotation
squarely within Section 230's broad grant of immunity,          marks omitted). As discussed above, the court finds that
the court finds Section 230(c)'s immunity provision             Plaintiffs' theory would require the editing of third-party
applies to Defendants.                                          content, thus treating Defendants as a publisher of
                                                                content. Accordingly, Internet Brands is inapposite on
B. Applying Section 230 to Plaintiffs' Claims                   this issue.4 See Roommates, 521 F.3d at 1170-71
                                                                ("[A]ny activity that can be boiled down to deciding
As stated above, the FAC brings twelve causes of                whether to exclude material that third parties seek to
action under state law against Defendants; namely: (1)          post online is perforce immune under section 230.");
strict product liability based on a design defect; (2) strict   Dyroff, 934 F.3d at 1100 (holding the "allegation that
product liability based on a failure to warn; (3)               user anonymity equals promoting drug transactions
negligence; (4) fraudulent misrepresentation; (5)               [was] not plausible" in view of defendant's "anonymity
negligent misrepresentation; (6) unjust enrichment; (7)         features along with its public statements expressing
violation of the Oregon Unlawful Trade Practices Act; (7)       concern for internet privacy and detailing the burden of
violation of the New York General Business Law § 349;           law enforcement information requests" and affirming
(8) violation of the New York General Business Law §            district court's "dismiss[al] [of] all claims related to this
350; (9) violation of the Colorado Consumer Protection          supposed theory of liability" under Section 230).
Act; (10) violation of the Pennsylvania Unfair Trade
Practices Law; (11) violation of the Minnesota False            With respect to Plaintiffs' remaining claims based on
Statement in Advertising Act; and (12) violation of             negligence and various state law statutes prohibiting
California Business and Professions Code §§ 17200 &             false advertising and misrepresentations,5 Plaintiffs
17500. For the reasons set forth below, the court finds
that each of these [*18] causes of action is predicated
on the theory that Defendants violated various state
                                                                4 Additionally,the Internet Brands court "express[ed] no
laws by failing to adequately regulate end-users'
                                                                opinion on the viability of the failure to warn allegations on the
abusive messaging, and is therefore barred by Section
                                                                merits." 824 F.3d at 854. Later Ninth Circuit precedent
230.
                                                                suggests Defendants—whose applications' anonymous
                                                                posting feature is not plausibly alleged to relate to content
Plaintiffs argue CDA immunity does not attach to
                                                                created or selectively promoted by Defendants—may not owe
Plaintiffs' failure to warn claims under Doe v. Internet        such a duty under California law, even if those claims are not
Brands, Inc., 824 F.3d 846 (9th Cir. 2016). (Dkt. 135 at        barred by the CDA. See Dyroff, 934 F.3d at 1101 ("No website
12-13.) Defendants argue Internet Brands is                     could function if a duty of care was created when a website
distinguishable, and that the CDA bars Plaintiffs' failure      facilitates communication, in a content-neutral fashion, of its
to warn claims regardless on the basis that Plaintiffs          users' content.") (citing Klayman v. Zuckerberg, 753 F.3d
seek to hold Defendants liable as a publisher of third-         1354, 1359-60, 410 U.S. App. D.C. 187 (D.C. Cir. 2014)).
party content. (Dkts. 118 at 10-14; 127 at 19-20.)
                                                                5 As discussed at oral argument, it is materially undisputed in
The Ninth Circuit in Internet Brands noted that the             substance, for the purposes of Section 230 immunity, that
plaintiff sought to hold the defendant "liable for failing to   Plaintiffs' remaining state law claims are predicated on
                                                                Plaintiffs' allegations that Defendants committed false
warn her about information it obtained from an outside
                                                                advertising or actionable misrepresentations, or are otherwise
source about how third parties targeted and lured
                                                                coextensive with Plaintiffs' negligence or product liability
victims through [the website on which the defendant
                                                                claims.

                                                      APPENDIX A
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argue Section 230 immunity does not protect                       "that liberality does not apply when amendment would
Defendants         from    their    own [*20]     alleged         be futile." Ebner v. Fresh, Inc., 838 F.3d 958, 968 (9th
misrepresentations and false statements on which                  Cir. 2016); see also AmerisourceBergen Corp. v.
Plaintiffs' various remaining claims are based. (Dkt. 135         Dialysist W., Inc., 465 F.3d 946, 951 (9th Cir. 2006) ("[A]
at 14-15.) Defendants argue that, because Plaintiffs'             district court need not grant leave to amend where the
claims are directed at Defendants' content moderation             amendment: (1) prejudices the opposing party; (2) is
policies, the remainder of Plaintiffs' claims are barred          sought in bad faith; (3) produces an undue delay in
under the CDA. (Dkts. 118 at 15-18; 127 at 20-22.) The            litigation; or (4) is futile.") (citations omitted). "[C]ourts
court agrees with Defendants and finds Plaintiffs'                have treated § 230(c) immunity as quite robust," see,
argument unpersuasive for the same reason as                      e.g., Carafano v. Metrosplash.com, Inc., 339 F.3d 1119,
Plaintiffs' failure to warn claims: because they are all          1123 (9th Cir. 2003), and the doctrine bars any claims
predicated on allegations concerning activity immunized           brought against a covered interactive computer service
by Section 230. See Roommates, 521 F.3d at 1170-71;               provider that "inherently require[] the court to treat the
Dyroff, 934 F.3d at 1100; Zango, 568 F.3d at 1177                 defendant as the 'publisher or speaker' of content
(false advertising); Barnes, 570 F.3d at 1102-03                  provided by another," Dyroff, 934 F.3d at 1098
(holding negligence claim under state law that "derive[d]         (alteration in original) (quoting Barnes, 570 F.3d at
from [defendant's] role as a publisher" was subject to            1102). Because the court finds the core theory
CDA immunity); Doe through Next Friend Roe v. Snap,               underlying Plaintiffs' claims seeks to treat Defendants as
Inc., 2022 U.S. Dist. LEXIS 119560, 2022 WL 2528615,              a "publisher or speaker" of the posts of third parties
at *14 (S.D. Tex. July 7, 2022) (finding state law claim          utilizing their applications, the court finds [*22]
based on negligence was barred by Section 230 where               amendment to be futile. See Sikhs for Just., Inc. v.
it was "couched as a complaint about [defendant's]                Facebook, Inc., 697 F. App'x 526 (9th Cir. 2017)
design and operation rather than its role as a publisher          (affirming district court's dismissal with prejudice
of third-party content," because defendant's "alleged             because granting plaintiff "leave to amend its complaint
lack of safety features [was] only relevant to [plaintiff's]      would be futile" where plaintiff's claim was "barred by
injuries to the extent that such features would have              the CDA" under Section 230).
averted wrongful communication via [defendant's]
platforms by third parties") (cleaned up).6                       Ultimately, based on the state of the record, as applied
                                                                  to the applicable law, the court concludes that
Because Section 230 immunizes Defendants from                     Defendants are immunized under Section 230 of the
Plaintiffs' [*21] claims in their entirety, the FAC is            CDA and that permitting further amendment would be
subject to dismissal.7 "While it is black-letter law that a       futile. Accordingly, the court DISMISSES WITH
district court must give plaintiffs at least one chance to        PREJUDICE the FAC.
amend a deficient complaint, that presumption can be
overcome where there has been a clear showing that
amendment would be futile." Barke v. Banks, 25 F.4th              IV. Disposition
714, 721 (9th Cir. 2022) (cleaned up). Stated differently,
                                                                  For the reasons set forth above, the court GRANTS
although Federal Rule of Civil Procedure 15(a)(2)
                                                                  Defendants' Motions to Dismiss and DISMISSES WITH
provides that leave to amend should be "freely" given,
                                                                  PREJUDICE the FAC.

                                                                  IT IS SO ORDERED.
6 To the extent the Fourth Circuit's decision in Henderson v.
The Source of Public Data, 53 F.4th 110, 122 (4th Cir. 2022),
in which the Fourth Circuit Court of Appeal reinterpreted its       End of Document
prior conception of "publication" under § 230(c)(1) in Zeran v.
America Online, Inc., 129 F.3d 327 (4th Cir. 1997)), is
implicated here, the court finds it unpersuasive in light of
broader view adopted by the Ninth Circuit, see, e.g.,
Roommates, 521 F.3d at 1170-71; see also Monsarrat v.
Newman 28 F.4th 314, 320 (1st Cir. 2022).

7 Inlight of this finding that Defendants are immunized against
Plaintiffs' claims under Section 230 of the CDA, the court does
not reach the remainder of the parties' arguments.

                                                        APPENDIX A
